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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 EQUAL EMPLOYMENT OPPORTUNITY            §
 COMMISSION,                             §
              Plaintiff,                 §
                                         §
 AND                                     §
                                         §
 ALFREDO GARCIA, ANA TREVINO,            §
 FRANCISCO ANDRADE, JOSE                 §
 ARREAZA, AVILIO ARRIAZA, ALMA           §
 BALDERAS, ANGELICA CORTES,              §
 ISRAEL FLORES, JOSE FLORES,             §
 VICTOR FLORES, MIGUEL GAMEZ,            § NO: 5:18-CV-00990-JKP
 TOMAS GALVAN, VICTOR GUEVARA,           §
 ADRIAN GUILLEN, CLEOFAS HINOJOSA,       §
 SERGIO IRETA, JAIME LEAL, VERONICA      §
 NAVARRETE, MIGUEL PEREZ, ERICK          §
 RUIZ, ERNESTO VASQUEZ RUBIO,            §
 GUILLERMO VITELA, SERGIO PAZ, AND       §
 SERGIO VITELA,                          §
                                         §
                  Plaintiff-Intervenors, §
                                         §
 vs.                                     §
                                         §
 DH SAN ANTONIO MANAGEMENT, LLC, §
 ET AL.,                                 §
                                         §
                 Defendants.

                    JOINT MOTION TO ENTER CONSENT DECREE

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, the Plaintiff, United States Equal Employment Opportunity Commission

(“EEOC”), Intervenors, and Defendants and file this, their Joint Motion to Enter Consent Decree

in the above-captioned civil matter. In support of this Motion, they respectfully show the Court as

follows:
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               EEOC, Intervenors, and Defendants have resolved all matters regarding the

EEOC’s Complaint in this litigation, as evidenced by their signatures on the Consent Decree

accompanying this Motion (Exhibit “A”).

       WHEREFORE, PREMISES CONSIDERED, EEOC, Intervenors, and Defendants,

respectfully request that this Court enter the Consent Decree attached to this Motion, and to retain

jurisdiction of this matter to enforce the terms and conditions of the attached Consent Decree.

                                  Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that on October 25, 2019, I presented the foregoing document with the
Clerk of the Court for filing and uploading to the CM/ECF system, which will send notification of
such filing to the following at their e-mail addresses on file with the Court:

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